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                                     UNITED STATES COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

    TOM MAHONEY, individually
    and on behalf of a class,

                         Plaintiff,                   CASE NO.:

    v.
                                                      Class Action
    DYNAMIC RECOVERY                                  Jury Demanded
    SOLUTIONS, LLC

                        Defendant.

_______________________________/

                                      PLAINTIFF TOM MAHONEY’S
                                      CLASS ACTION COMPLAINT

            Tom Mahoney (“Plaintiff”) brings this action to enforce the consumer-privacy provisions

of the Telephone Consumer Protection Act (“TCPA”), a federal statute enacted in 1991 in

response to widespread public outrage about the proliferation of intrusive, nuisance telemarketing

practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012). He is also suing under

the Florida Consumer Collection Practices Act, sections 559.55, et seq., Florida Statutes (hereafter

"FCCPA") and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”)

1. Background

         1.1. “Month after month, unwanted robocalls and texts, both telemarketing and informational,

             top the list of consumer complaints received by” the Federal Communications

             Commission (“FCC”).1




1
    Omnibus TCPA Order, GC Docket 02-278, FCC 15-72, 2015 WL 4387780, ¶1 (July 10, 2015).
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  1.2. “Voluminous consumer complaints about abuses of telephone technology – for example,

      computerized calls dispatched to private homes – prompted Congress to pass the TCPA.”

      Id. at 744. In enacting the TCPA, Congress intended to give consumers a choice as to how

      creditors and telemarketers may call them.          Thus, and as applicable here, Section

      227(b)(1)(A)(iii) of the TCPA specifically prohibits the making of “any call (other than a

      call made for emergency purposes or made with the prior express consent of the called

      party) using any automatic telephone dialing system or an artificial or prerecorded voice

      … to any telephone number assigned to a … cellular telephone service[.]”

  1.3. Beginning on February 13, 2019 Dynamic Recovery Solutions, Inc. (“Defendant”) called

      Plaintiff’s cell phone using a prerecorded voice.

  1.4. The calls were also made with an automatic telephone dialing system (“ATDS”).

  1.5. Because Plaintiff had not given his consent to receive these calls from Defendant, these

      calls violated the TCPA.

  1.6.This is the exact scenarios Congress attempted to prevent in enacting the TCPA. Plaintiff

     now seeks this Court's intervention and help in attempting to prohibit this unlawful

     conduct.

  1.7. Because the calls were transmitted using technology capable of generating hundreds of

      thousands of telemarketing calls per day, and because illegal debt collection campaigns

      generally place calls to hundreds of thousands or even millions of potential customers en

      masse, Plaintiff brings this action on behalf of a proposed nationwide class of other

      persons who received the illegal calls from Defendant.

  1.8. A class action is the best means of obtaining redress for the Defendant’s wide scale illegal

      telephone calls and illegal debt collection calls and is consistent both with the private right

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       of action afforded by the TCPA, the FDCPA and the FCCPA and the fairness and

       efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

2. Parties

   2.1. Plaintiff is a resident of this District. The calls were received in this District.

   2.2. Defendant is a limited liability company that conducts business in the State of Florida.

       Defendant is engaged in the business of collecting consumer debts in the Middle District

       of Florida. The principal purpose of Defendant’s business is the collection of consumer

       debts. Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6). Defendant

       regularly collects or attempts to collect, directly or indirectly, debts owed or due or

       asserted to be owed or due another.

   2.3. Plaintiff is a debtor and/or alleged debtor as that term is defined by section 559.55(2),

       Florida Statutes and under the FDCPA.

   2.4. Plaintiff is the "called party" with respect to the calls placed to his cellular telephone

       number (239) 898-4040 (“Plaintiff’s Telephone Number”).

   2.5. Plaintiff is a "consumer" as that term is defined by 15 U.S.C. § 1692a(3).

3. Jurisdiction and Venue

   3.1. The Court has federal question subject matter jurisdiction over these TCPA claims. Mims

       v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012). This Court also has federal

       subject matter jurisdiction over the FDCPA claims pursuant to 15 U.S.C. § 1692k(d).

   3.2. Supplemental jurisdiction exits pursuant to 28 U.S.C. § 1367.

   3.3. Venue is proper because the Plaintiff is a resident of this District and Defendant has

       sufficient contacts in this State and District to subject it to personal jurisdiction. Defendant

       made calls to a resident of this District.

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4. Article III Standing

   4.1. Plaintiff has Article III standing for his claim under the TCPA. Spokeo, Inc., v. Thomas

       Robins, 136 S. Ct. 1540 (2016).

   4.2. Plaintiff was harmed by Defendant’s actions of calling his cell phone while his number

       was on the Do Not Call Registry, without consent in the following manners:

      4.2.1. Plaintiff’s privacy was invaded by Defendant;

      4.2.2. Plaintiff was harassed and abused by Defendant’s telephone calls;

      4.2.3. Defendant’s calls were a nuisance to Plaintiff;

      4.2.4. Plaintiff’s phone was unavailable for other use while processing the illegal calls

              from Defendant;

      4.2.5. Defendant illegally seized Plaintiff’s telephone line while it made illegal calls to

              Plaintiff’s cellular telephone;

      4.2.6. Plaintiff’s telephone line was occupied by multiple unauthorized calls from

              Defendant;

      4.2.7. Defendant’s seizure of Plaintiff’s telephone line was intrusive; and

      4.2.8. Plaintiff was inconvenienced by Defendant’s calls, by among other things, hearing

              his ring and having to check the calling party.

   4.3. Plaintiff has Article III standing for his claim under the FDCPA. Spokeo, Inc., v. Thomas

       Robins, 136 S. Ct. 1540 (2016). By not being provided the required information and by

       being subjected to the illegal acts of Defendant, Plaintiff suffered the following injuries:

      4.3.1. An informational harm (lack of receipt of creditor/debt information) the FDCPA

            was designed to protect and provide;

      4.3.2. Anxiety and distress as a result of not receiving the required written notice;

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      4.3.3. Plaintiff has not been afforded the opportunity to challenge the creditor's debt

           information;

      4.3.4. Plaintiff was exposed to a real risk of financial harm by being potentially coerced

           into paying a debt which he did not owe. The lack of information provided by

           Defendant caused this risk of financial harm; and

      4.3.5. Plaintiff’s right to information is a substantive right not merely procedural.

5. The Telephone Consumer Protection Act

   5.1. The TCPA makes it unlawful “to make any call (other than a call made for emergency

       purposes or made with the prior express consent of the called party) using an automatic

       telephone dialing system or an artificial or prerecorded voice … to any telephone number

       assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii). The TCPA

       provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

       § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

   5.2. According to findings by the Federal Communication Commission (“FCC”), the agency

       Congress vested with authority to issue regulations implementing the TCPA, such calls

       are prohibited because, as Congress found, automated or prerecorded telephone calls are

       a greater nuisance and invasion of privacy than live solicitation calls, and such calls can

       be costly and inconvenient.

   5.3. The FCC also recognized that “wireless customers are charged for incoming calls whether

       they pay in advance or after the minutes are used.” In re Rules and Regulations

       Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and

       Order, 18 F.C.C. Rcd. 14014, 14115 ¶ 165 (2003).

6. The Fair Debt Consumer Protection Act.

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   6.1. The FDCPA's purpose is to “eliminate abusive debt collection practices by debt

       collectors.” 15 U.S.C. § 1692(e). Because “Congress clearly intended the FDCPA to have

       a broad remedial scope,” the FDCPA “should therefore be construed broadly and in favor

       of the consumer.”

   6.2. To state an FDCPA claim, a plaintiff must show: “(1) that he was the object of collection

       activity arising from a consumer debt; (2) that Defendant is a debt collector as defined by

       the FDCPA; and (3) that Defendant engaged in an act or omission prohibited by

       the FDCPA,”

   6.3. The FDCPA is a strict liability statute that creates specific requirements debt collectors

       must follow, in which a single violation is sufficient to establish liability.

   6.4. The FDCPA does not allow a debt collector to not use any false, deceptive, or misleading

       representation or means in connection with the collection of any debt. 15 U.S. C. § 1692e.

7. Florida Consumer Collection Practices Act

   7.1. The FCCPA was enacted to protect Florida residents from abusive debt collection

       practices. It prevents certain abusive debt collection practices.

   7.2. The FCCPA does not allow a debt collector to use a communication that simulates in any

       manner legal or judicial process. 559.72 (10).

        8. Factual Allegations; Defendant placed prerecorded calls to the Plaintiff

   8.1. Plaintiff is the owner of and user of Plaintiff’s Telephone Number which is a cellular

       number.

   8.2. Each of the telephone calls referenced below was made to Plaintiff’s Telephone Number.

       None of the calls at issue were placed by Defendant to Plaintiff’s phone number for

       "emergency purposes."

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   8.3. Beginning on February 13, 2019 Plaintiff began receiving telephone calls directly from

       Defendant.

   8.4. The telephone calls were made with an ATDS and a prerecorded message was played

       during the telephone calls.

   8.5. The prerecorded message stated:

      8.5.1. “This message is for … Shawn …Mahoney. I received an order in my office
           today to complete an order of process for several big mattes you are currently being
           investigated for. I will be verifying your current address and place of employment
           today. In the meantime, it is your responsibility … and legal right to contact your
           plaintiff prior to being served. Their number is 573-227-5238. Make reference to
           case number 78541. Failure to comply will result in the forfeiture of your right to
           dispute this matter and a claim will be filed against you in your local county.”


   8.6. All of the calls were willful and knowing violations of the TCPA.

   8.7. Plaintiff received multiple from Defendant each playing the same prerecorded message.

9. Class Action Allegations

   9.1. As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

       action on behalf of a class of all other persons or entities similarly situated throughout the

       United States and on behalf of a class of all other persons or entities similarly situated

       throughout the State of Florida.

   9.2. The class of persons Plaintiff proposes to represent with respect to Count One is tentatively

       defined as:

      9.2.1. All persons within the United States to whom: (a) Defendant and/or a third party
           acting on their behalf, made one or more non-emergency telephone calls; (b) to their
           cellular telephone number; (c) using an automatic telephone dialing system or an
           artificial or prerecorded voice; (d) at any time in the period that begins four years
           before the date of the filing of this Complaint to trial.

   9.3. The class of persons Plaintiff proposes to represent with respect to Count Two is

       tentatively defined as
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     9.3.1. All persons within the United States to whom: (a) Defendant and/or a third party
          acting on their behalf, made a telephone call and played substantially the same
          message as received by Plaintiff (b) at any time in the period that begins one years
          before the date of the filing of this Complaint to trial.

  9.4. The class of persons Plaintiff proposes to represent with respect to Count Three is

      tentatively defined as

       9.4.1.All persons in the State of Florida to whom: (a) Defendant and/or a third party
             acting on their behalf, made a telephone call and played substantially the same
             message as received by Plaintiff (b) at any time in the period that begins two years
             before the date of the filing of this Complaint to trial.


  9.5. Excluded from the classes are the Defendant, and any entities in which the Defendant has

      a controlling interest, the Defendant’s agents and employees, any judge to whom this

      action is assigned and any member of such judge’s staff and immediate family.

  9.6. The classes as defined above are identifiable through phone records and phone number

      databases.

  9.7. Plaintiff does not know the exact number of members in the proposed classes, but

      reasonably believes based on the scale of Defendant’s business, and the number of calls

      that he received, that the classes are so numerous that individual joinder would be

      impracticable. The potential class members number at least in the hundreds or thousands.

  9.8. Plaintiff and all members of the proposed classes have been harmed by the acts of

      Defendant in the form of multiple involuntary telephone and electrical charges, the

      aggravation, nuisance, and invasion of privacy that necessarily accompanies the receipt of

      unsolicited and harassing telephone calls, and violations of their statutory rights. Plaintiff

      and all members of the proposed class have been harmed by the illegal debt collection

      practices.

  9.9. Plaintiff is a member of the classes.
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  9.10.        There are questions of law and fact common to Plaintiff and to the proposed classes,

      including but not limited to the following:

     9.10.1. Whether Defendant violated the TCPA by making calls with a prerecorded message

               to a cellular phone;

     9.10.2. Whether Defendant or its agents, within the four years before the filing of this

               Complaint, made one or more one calls to a recipient’s cell phone with the use of a

               prerecorded message.

     9.10.3. Whether the Plaintiff and the class members are entitled to statutory damages as a

               result of Defendant’s actions.

     9.10.4. Whether Plaintiff and the class members were the subject of any false, deceptive,

               or misleading representation or means in connection with the collection of any debt.

     9.10.5. Whether Plaintiff and the class members are entitled to statutory damages under the

               FDCPA.

     9.10.6. Whether Plaintiff and the class members are entitled to statutory damages under the

               FCCPA.

     9.10.7. Whether Plaintiff and the class members were subject to a communication that

               simulates in any manner legal or judicial process.

  9.11.            Plaintiff’s claims are typical of the claims of class members.

  9.12.        Plaintiff is an adequate representative of the classes because his interests do not

          conflict with the interests of the class, he will fairly and adequately protect the interests

          of the class, and he is represented by counsel skilled and experienced in class actions,

          including TCPA class actions.



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    9.13. The actions of Defendant are generally applicable to the classes as a whole and to

            Plaintiff.

    9.14.    Management of these claims is likely to present significantly fewer difficulties than

             are presented in many class claims because the calls at issue are all automated. Class

             treatment is superior to multiple individual suits or piecemeal litigation because it

             conserves judicial resources, promotes consistency and efficiency of adjudication,

             provides a forum for small claimants, and deters illegal activities. There will be no

             significant difficulty in the management of this case as a class action.

    9.15.    Common questions of law and fact predominate over questions affecting only

             individual class members, and a class action is the superior method for fair and

             efficient adjudication of the controversy. The only individual question concerns

             identification of class members, which will be ascertainable from records maintained

             by Defendant and/or its agents.

   9.16.     The likelihood that individual members of the classes will prosecute separate actions

             is remote due to the time and expense necessary to prosecute an individual case.

    9.17.    Plaintiff is not aware of any litigation concerning this controversy already commenced

             by others who meet the criteria for class membership described above.

10. Count One: Violation of the TCPA’s ATDS provisions

    10.1.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set forth

       herein.

   10.2.    The Defendant violated the TCPA by initiating telephone calls to cell phone numbers

       with the use of a prerecorded message without the called party’s consent.



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      10.3.     The Defendant’s violations were knowing/willful as Defendant was spoofing the

          calling phone numbers and had no prior business with Plaintiff.

      10.4.      Relief Sought: For himself and all class members, Plaintiff requests the following

          relief:

         10.4.1. That Defendant be restrained from engaging in future violations of the TCPA.

              10.4.2. That Defendant, and its agents, or anyone acting on its behalf, be immediately

                    restrained from altering, deleting or destroying any documents or records that

                    could be used to identify class members.

         10.4.3. That the Court certify the claims of the named plaintiff and all other persons

                   similarly situated as class action claims under Rule 23 of the Federal Rules of Civil

                   Procedure and Plaintiff’s counsel be named as counsel for the classes.

         10.4.4. That the Plaintiff and all class members be awarded statutory damages of $500 for

                   each violation, with triple damages for any willful or knowing violation, as

                   provided by the law.

         10.4.5. That the Plaintiff recover his attorneys’ fees and costs.

         10.4.6. That the Plaintiff and all class members be granted other relief as is just and

                    equitable under the circumstances

11. Count Two: Violation of the FDCPA

      11.1.             Plaintiff incorporates the allegations from all previous paragraphs as if fully set

          forth herein.

      11.2.         The Defendant’s violation of the FDCPA includes, but is not limited to the

          following:



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      11.2.1. In violation of 15 U.S. C. § 1692e Defendant used false, deceptive, or misleading

              representation or means in connection with the collection of any debt.

   11.3.         Under 15 USC § 1692k, the Defendant’s violation of the FDCPA render it liable to

       Plaintiff and the Class members for statutory damages, costs, and reasonable attorney's

       fees.

   11.4.      Relief Sought: For himself and all class members, Plaintiff requests the following

       relief:

      11.4.1. That Defendant be restrained from engaging in future violations of the FDCPA.

           11.4.2. That Defendant, and its agents, or anyone acting on its behalf, be immediately

                 restrained from altering, deleting or destroying any documents or records that

                 could be used to identify class members.

      11.4.3. That the Court certify the claims of the named plaintiff and all other persons

                similarly situated as class action claims under Rule 23 of the Federal Rules of Civil

                Procedure and Plaintiff’s counsel be named as counsel for the classes.

      11.4.4. That the Plaintiff and all class members be awarded statutory damages for each

                violation as provided by the law.

      11.4.5. That the Plaintiff recover his attorneys’ fees and costs.

      11.4.6. That the Plaintiff and all class members be granted other relief as is just and

                 equitable under the circumstances

12. Count Three: Violation of the FCCPA

   12.1.             Plaintiff incorporates the allegations from all previous paragraphs as if fully set

       forth herein.



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   12.2.         The Defendant’s violation of the FCCPA includes, but is not limited to the

       following:

       12.2.1. In violation of 559.72 (10) Defendant used a communication that simulates in any

              manner legal or judicial process.

   12.3.         Under the FCCPA, the Defendant’s violation of the FCCPA render it liable to

       Plaintiff and the Class members for statutory damages, costs, and reasonable attorney's

       fees.

   12.4.      Relief Sought: For himself and all class members, Plaintiff requests the following

       relief:

       12.4.1. That Defendant be restrained from engaging in future violations of the FCCPA.

           12.4.2. That Defendant, and its agents, or anyone acting on its behalf, be immediately

                 restrained from altering, deleting or destroying any documents or records that

                 could be used to identify class members.

       12.4.3. That the Court certify the claims of the named plaintiff and all other persons

                similarly situated as class action claims under Rule 23 of the Federal Rules of Civil

                Procedure and Plaintiff’s counsel be named as counsel for the classes.

       12.4.4. That the Plaintiff and all class members be awarded statutory damages as

                provided by the law.

       12.4.5. That the Plaintiff recover his attorneys’ fees and costs.

       12.4.6. That the Plaintiff and all class members be granted other relief as is just and

                 equitable under the circumstances

13. Jury Demand

   13.1. Plaintiff requests a jury trial as to all claims of the complaint so triable.

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  Dated this 29th day of March, 2019.

      Respectfully submitted,            
                                         
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